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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
  ____________________________________
  BING LI, et al.,                      )
                                        )   Civil Action No.
              Plaintiffs,               )   3:14-CV-07081-PGS
                                        )
  v.                                    )
                                        )
  AETERNA ZENTARIS, INC., et al.,       )
                                        )
              Defendants.               )


                 DECLARATION OF AUSTIN A. EVANS
             IN SUPPORT OF DEFENDANTS’ OPPOSITION
      TO LEAD PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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        I, Austin A. Evans, declare as follows:

        1.     I am over the age of twenty-one and am a resident of the State of

  Georgia.

        2.     I am a Senior Associate with the law firm of King & Spalding LLP,

  located at 1180 Peachtree Street, N.E., Atlanta, GA 30309. I am one of the

  attorneys representing Defendants in the above-captioned matter.

        3.     I submit this declaration in support of Defendants’ Opposition to Lead

  Plaintiffs’ Motion for Class Certification.

        4.     Attached as Exhibit 1 is a true and correct copy of Aeterna’s Annual

  Report For The Fiscal Year Ended December 31, 2016, on Form 20-F, as filed with

  the SEC on March 15, 2017.

        5.     Attached as Exhibit 2 is a true and correct copy of Aeterna’s Annual

  Report For The Fiscal Year Ended December 31, 2010, on Form 20-F, as filed with

  the SEC on March 31, 2011.

        6.     Attached as Exhibit 3 is a true and correct copy of Aeterna’s Annual

  Report For The Fiscal Year Ended December 31, 2012, on Form 20-F, as filed with

  the SEC on March 21, 2013.

        7.     Attached as Exhibit 4 is a true and correct copy of a document titled

  “Special Protocol Assessment Guidance for Industry,” dated as of April 20, 2016,




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  which is available at https://www.fda.gov/downloads/Drugs/GuidanceCompliance

  RegulatoryInformation/Guidances/UCM498793.pdf.

        8.    Attached as Exhibit 5 is a true and correct copy of Aeterna’s press

  release titled: “FDA Issues Complete Response Letter for Aeterna Zentaris’

  MacrilenTM NDA in Adult Growth Hormone Deficiency,” dated as of November

  6, 2014.

        9.    Attached as Exhibit 6 is a true and correct copy of excerpts of the

  Deposition of Adam Werner, Ph.D., which was taken on February 10, 2017.

        10.   Attached as Exhibit 7 is a true and correct copy of the Expert Report

  of David I. Tabak, Ph.D., dated March 23, 2017.

        11.   Attached as Exhibit 8 is a true and correct copy of excerpts of the

  Deposition of Jamshid Khodavandi, which was taken on February 17, 2017.

        12.   Attached as Exhibit 9 is a true and correct copy of excerpts of the

  Deposition of Phong Thomas Dinh, which was taken on February 23, 2017.

        13.   Attached as Exhibit 10 is a true and correct copy of excerpts of the

  Deposition of Dr. Gregory Vizirgianakis, which was taken on March 15, 2017.

        14.   Attached as Exhibit 11 is a true and correct copy of the document

  produced by Plaintiffs with production numbers PL_DINH_000001-25.




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        In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

  the foregoing facts are true and correct.

  Dated: March 23, 2017                           Respectfully submitted,

                                                  s/ Austin A. Evans
                                                  Austin A. Evans
                                                  KING & SPALDING LLP
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                                                  Attorneys for Defendants




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                           CERTIFICATE OF SERVICE

        I hereby certify that, on March 23, 2017, a true and correct copy of the

  foregoing was served via e-mail on the counsel of record listed below. I further

  certify that, on May 8, 2017, I caused a true and correct copy of the foregoing to be

  filed via the Court’s ECF system, which will send notice to all counsel of record.

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  Dated: May 8, 2017                             /s/ Austin A. Evans
                                                 Austin A. Evans




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